           Case 22-60043 Document 567 Filed in TXSB on 04/26/23 Page 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                           §
                                                  §          Case No. 22-60043
 FREE SPEECH SYSTEMS, LLC,                        §
                                                  §
                                DEBTOR.           §          Chapter 11 (Subchapter V)
                                                  §

                                WITNESS AND EXHIBIT LIST

 Judge:                       Hon. Christopher M. Lopez
 Hearing Date:                April 28, 2023
 Hearing Time:                1:00 p.m. prevailing Central Time
 Party’s Name:                Shannon & Lee LLP
 Attorney’s Name:             R. J. Shannon; Kyung S. Lee
 Attorney’s Phone:            (713) 714-5770
 Nature of Proceeding:        Hearing on:
                                  Debtor’s Motion for Order Approving Settlement [ECF No.
                                     515]

          Shannon & Lee LLP (“S&L”) hereby submits this witness and exhibit list in connection

with the hearing to be held on Friday, April 28, 2023, at 1:00 p.m. (Central Standard Time) (the

“Hearing”).

                                          WITNESSES

          S&L may call any of the following witnesses at the Hearing, whether in person or by

proffer:

          1. Any witness called or designated by any other party; and
          2. Any witnesses necessary to rebut the testimony of any witnesses called or designated
             by any other party.
          Case 22-60043 Document 567 Filed in TXSB on 04/26/23 Page 2 of 5




                                             EXHIBITS

         S&L may offer for admission into evidence any of the following exhibits, and any exhibit

  designated by any other party, at the Hearing:


                                                                             Admitted
Ex.                   Description                      Offered   Objection     /Not     Disposition
                                                                             Admitted

1     Debtor’s Motion for Order Approving
      Settlement [ECF No. 515]

2     United States Trustee’s Objection to
      Debtor’s Motion for Order Approving
      Settlement [ECF No. 553]

3     Joinder of the Sandy Hook Families in
      Support of the United States Trustee’s
      Objection to the Debtor’s Motion for Order
      Approving Settlement [ECF No. 559]

4     Shannon & Lee LLP’s Motion for Order
      Allowing Administrative Expense Claim
      and Granting Related Relief [ECF No. 251]

5     Motion of W. Marc Schwartz and Schwartz
      Associates LLC for Order Allowing
      Administrative Expense Claim and Granting
      Related Relief [ECF No. 252]

6     United States Trustee’s Omnibus Objection
      to the Motions of Shannon & Lee LLP and
      W. Marc Schwartz for Orders Allowing
      Administrative Expense Claims [Dkt. Nos.
      251 and 252] [ECF No. 267]

7     Alex E. Jones Limited Objection to
      Shannon & Lee LLP, Marc Schwartz and
      Schwartz Associates, LLC’s Motions for
      Order Allowing Administrative Expense
      Claim and Granting Related Relief [Doc.
      #251 and #252] [ECF No. 268]




                                                   2
          Case 22-60043 Document 567 Filed in TXSB on 04/26/23 Page 3 of 5




                                                                             Admitted
Ex.                  Description                       Offered   Objection     /Not     Disposition
                                                                             Admitted

8     The Debtor and Subchapter V Trustee’s
      Joint Objection to W. March Schwartz and
      Shannon & Lee LLP’s Motions for Order
      Allowing Administrative Expense Claims
      [ECF No. 269]

9     Shannon & Lee LLP’s Omnibus Reply to
      Objections to Administrative Expense
      Motion [ECF No. 362]

10    Joinder of W. Marc Schwartz and Schwartz
      Associates, LLC to Shannon & Lee LLP’s
      Omnibus Reply to Objections to
      Administrative Expense Motion [ECF No.
      371]

11    S&L’s Notice of Appeal re Order Denying
      Debtor’s Application to Employ Bankruptcy
      Co-Counsel [ECF No. 414]

12    Designation of Record on Appeal and
      Statement of Issues [ECF No. 471]

13    Order of District Court in Case No. 23-cv-
      00461

14    SALLC’s Notice of Appeal and Statement
      of Election re Order Denying Motion for
      Rehearing on Debtor’s Application to
      Employ Advisor [ECF No. 415]

15    Designation of Record on Appeal and
      Statement of Issues on Appeal [ECF No.
      474]

16    Order of District Court in Case No. 23-cv-
      00464

17    S&L’s Notice of Appeal re Order Denying
      Motion for Rehearing on Debtor’s
      Application to Employ Law Firm [ECF No.
      416]

                                                   3
          Case 22-60043 Document 567 Filed in TXSB on 04/26/23 Page 4 of 5




                                                                             Admitted
Ex.                   Description                      Offered   Objection     /Not     Disposition
                                                                             Admitted

18    Designation of Record on Appeal and
      Statement of Issues [ECF No. 472]

19    Order of District Court in Case No. 23-cv-
      00463

20    SALLC’s Notice of Appeal and Statement
      of Election re Order (a) Denying
      Employment of W. Marc Schwartz as Chief
      Restructuring Officer, (b) Denying
      Employment of Staff of Schwartz
      Associates, LLC in Discharge of Duties as
      Chief Restructuring Officer, and (c)
      Granting Related Relief [ECF No. 418]

21    Designation of Record on Appeal and
      Statement of Issues on Appeal [ECF No.
      473]

22    Order of District Court in Case No. 23-cv-
      00465

23    Subchapter V Trustee’s Initial Findings of
      Free Speech Systems, LLC Investigation
      [ECF No. 549]

24    November 6, 2022, email from J. Martin to
      K. Lee, M. Ridulfo, R. Shannon, R.
      Chapple, and Avi Moshenberg

         S&L reserves the right to supplement, amend or delete any witness and exhibits prior to

  the Hearing. The S&L also reserves the right to ask the Court to take judicial notice of any

  document. S&L finally reserves the right to introduce exhibits previously admitted.

                            [Remainder of Page Intentionally Left Blank]




                                                   4
       Case 22-60043 Document 567 Filed in TXSB on 04/26/23 Page 5 of 5




Dated: April 26, 2023         SHANNON & LEE LLP


                                    /s/ R. J. Shannon
                                    Kyung S. Lee
                                    State Bar No. 12128400
                                    klee@shannonleellp.com
                                    R. J. Shannon
                                    State Bar No. 24108062
                                    rshannon@shannonleellp.com
                                    700 Milam Street, STE 1300
                                    Houston, Texas 77002
                                    Tel. (713) 714-5770




                                      5
